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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

   IN RE:                                        ) CASE NO. 16-62019-BEM
                                                 )
   AMY ELIZABETH BARNES,                         ) CHAPTER 13
                                                 )
            Debtor.                              )
                                                 )

                           NOTICE OF APPEARANCE OF COUNSEL
            PLEASE TAKE NOTICE, that the undersigned hereby appears as counsel for

   U.S. Bank Trust N.A., as Trustee of Bungalow Series F Trust, c/o BSI Financial Services,

   Inc., its servicing agent, a secured creditor and party in interest, and hereby requests that

   all notices given or required to be given in this case, and all papers served or required to

   be served in this case, be given to and served upon:

            Marc E. Ripps, Esq.
            P.O. Box 923533
            Norcross, Georgia 30010-3533
            (770) 448-5377
            Email: meratl@aol.com
                      th
            This 15 day of October, 2019.

   Prepared By:

   /s/ Marc E. Ripps
   Marc E. Ripps
   Georgia Bar No. 606515

   P.O. Box 923533
   Norcross, Georgia 30010-3533
   (770) 448-5377
   Email: meratl@aol.com
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                                CERTIFICATE OF SERVICE

          This is to certify that I have served the following parties in this matter with a copy
   of the within and foregoing by, unless otherwise noted, depositing a true and correct
   copy in the U.S. Mail with sufficient postage affixed thereto and properly addressed as
   follows:

   Mary Ida Townson, Esq.
   Chapter 13 Trustee
   Via Electronic Notice

   Howard P. Slomka, Esq.
   Attorney for Debtor
   Via Electronic Notice

   Amy Elizabeth Barnes
   886 Wanda Circle, SW
   Marietta, GA 30008
                  th
          This 15 day of October, 2019.

                                                         /s/ Marc E. Ripps
                                                         Marc E. Ripps
                                                         Georgia Bar No. 606515
   P. O. Box 923533
   Norcross, GA 30010-3533
   (770) 448-5377
   Email: meratl@aol.com
